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                             EXHIBIT
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 21-60125-CIV-SCOLA/GOODMAN

   JIANGMEN BENLIDA PRINTED
   CIRCUIT CO., LTD.,

   Plaintiff,

   v.

   CIRCUITRONIX LLC,

   Defendant,
   ______________________________/

        DEFENDANT         RULE 26(a)(1) SUPPLEMENTAL DISCLOSURE OF JUNE 26, 2023

                                                  , LLC

   Procedure 26 and 34, hereby provides the following supplemental initial disclosures:

        (iii) a computation of each category of damages claimed by the disclosing party who must
              also make available for inspection and copying as under Rule 34 the documents or
              other evidentiary material, unless privileged or protected from disclosure, on which
              each computation is based, including materials bearing on the nature and extent of
              injuries suffered:

             This supplemental disclosure consolidates and amends the prior disclosures of

   January 26, 2022 and May 31, 2023 as follows:

             1.     The compensatory damages CTX, LLC seeks are set forth in (and are computed

         as the sum of the amounts in) the three charts below.




                                                     1
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                     a) AMOUNT OWED TO CTX, LLC BY BENLIDA 1




                     b) AMOUNTS CTX, LLC
                        WHICH WERE OWED TO AND SHOULD HAVE BEEN CREDITED
                        BY BENLIDA2

                                                                                                                 , LLC

                     made the payments detailed below, totaling $2.825 million, to ROK for amounts

                     that were actually owed to Benlida.

                                         DATES AND AMOUNTS PAID
                                                  TO ROK
                                       3/14/2017 $         300,000
                                       3/23/2017 $         500,000
                                       3/27/2017 $         500,000
                                       3/15/2018 $         500,000
                                        4/4/2018 $          75,000
                                       4/10/2018 $         350,000
                                        5/1/2018 $         200,000
                                        6/1/2018 $         200,000
                                       6/29/2018 $         200,000
                                        TOTAL $          2,825,000


   1
     The computation in this chart is set forth at paragraph 37, Table 7 of the Analysis of Payables Reconciliation
   prepared Barry Mukamal and Mark Parisi, that was served with expert disclosures on June 8, 2023.
   2
     The data in this chart was compiled from the Excel spreadsheet entitled ROK Payment Details CTX-US-
   HK_2012-2019.xls (CTX_00001753), which was
   (CTX_00001751).


                                                             2
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                    c) PREMIUM PAYMENT AMOUNTS CTX, LLC PAID TO BENLIDA 3

                             During the period from August 2019 through October 15, 2021, CTX,

                    LLC made premium payments totaling $317,539.48 to Benlida. These payments



                                         CTX-US Premium Summary

                          20%                  10%          3%          Total
                    Year
                          Premium              Premium      Premium     Premium
                     2019      -                     -           -            -
                     2020      -                 143,207.63      -        143,207.63
                     2021      -                 138,105.69   36,226.16   174,331.85

                    Total                         281,313.32         36,226.16        317,539.48


            2.      Punitive damages of three times the amount of compensatory damages for

                   intentional breach of fiduciary duty.

            3.      Pre-judgment and post-judgment interest in accordance with Florida Statute

         § 55.03 and 28 U.S.C § 1961.

            4.                   fees and costs. CTX, LLC anticipates that it will incur over

                                    fees and costs if this case were to proceed to trial.



   Dated: June 26, 2023                                Respectfully submitted,


       PODHURST ORSECK, P.A.                                    CHAUNCEY COLE, PA
       One S.E. 3rd Avenue, Suite 2300                          9100 South Dadeland Blvd., Suite 1553
       Miami, Florida 33131                                     Miami, Florida 33156

   3
    The data in this chart was compiled from the Excel spreadsheet entitled Benlida Proforma Cost and Inventory
   Management (CTX_01533295). The chart reflects only premium payments made on or before October 15, 2021,

                                                                         in the Excel spreadsheet
   verification                             s are inaccurate and that corresponding premium payment amounts were
   actually paid. For the sake of this claim, however, the unpaid amounts have not been taken into consideration.

                                                           3
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    Tel.: 305-358-2800/Fax: 305-358-2382                 Tel.:   (786) 497-7053

    By: /s/ Stephen F. Rosenthal                         Chauncey D. Cole, IV, Esq.
    Stephen F. Rosenthal                                 Florida Bar No. 102184
    Florida Bar No. 0131458                              chauncey.cole@coletrial.com
    srosenthal@podhurst.com
    Christina H. Martinez
    Florida Bar No. 1029432
    cmartinez@podhurst.com




                                    Counsel for Circuitronix, LLC



                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true copy of the foregoing has been served via electronic

   mail on all counsel of record on June 26, 2023.

                                                By: /s/ Stephen F. Rosenthal l
                                                       Stephen F. Rosenthal




                                                     4
